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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      April 3, 2022

Via Email
Brent Mayr
Mayr Law, P.C.
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       Re:      United States v. Christopher Grider
                Case No. 1:21-cr-00022-CKK

Dear Counsel:

       Enclosed as additional discovery in this case, via filesharing, are the following materials:

             1. Evidence from other Capitol investigations:
                   a. 302 from proffer with defendant AJ
                   b. Notes from proffer with defendant AJ
             2. FBI Serial 54 regarding filter
             3. Additional open-source video from Speaker’s Lobby (Benjamin Reports)

       This material is subject to the terms of the Protective Order issued in this case. Please
adhere to sensitivity markings.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        I will forward additional discovery as it becomes available. In the meantime, please let
me know if there are any categories of information that you believe are particularly relevant to
your client.

       If you have any questions, please feel free to contact me.
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                                   Sincerely,


                                   _______________________
                                   Candice C. Wong
                                   Assistant United States Attorney
                                   202-252-7849
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